               Case 9:25-cv-00646-ECC-TWD                       Document 3            Filed 05/22/25          Page 1 of 1

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                      for the
                                                      Northern District
                                                    __________ Districtof
                                                                        ofNew York
                                                                          __________

                        Vincent Dalton                                  )
                                                                        )
                                                                        )
                                                                        )
                            Plaintiff(s)                                )
                                                                        )                           9:25-CV-646        ECC/TWD
                                v.                                              Civil Action No.
                                                                        )
  Sgt. Ronald Hanson, C.O. Jonathan Souza, C.O.                         )
 James G. Williams, Jr., C.O. Jacob Clippinger, C.O.                    )
      Eric Fletcher, and Nurse Nicole L. Russo                          )
                                                                        )
                           Defendant(s)                                 )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) -Nurse Nicole L. Russo: c/o New York State Office for People With Developmental
                                           Disabilities (OPWDD), 44 Holland Avenue, Albany, NY 12229




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Sivin, Miller & Roche LLP
                                           20 Vesey St., Suite 1400
                                           New York, NY 10007




       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                   CLERK OF COURT


Date:       May 22, 2025                                                               s/N. Steves
                                                                                               Signature of Clerk or Deputy Clerk
